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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                         IN THE UNITED STATES DISTRICT COURT                             December 16, 2016
                         FOR THE SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §           MAGISTRATE NO. H-16-1763
                                                  §
LEONEL IVAN PORTILLO                              §

                          ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. I conclude that the following facts are established by a preponderance of the
evidence or clear and convincing evidence and require the detention of the defendant pending trial in
this case.

                                          Findings of Fact

[]     A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

       [ ] (1) The defendant has been convicted of a (federal offense) (state or local offense that
               would have been a federal offense if a circumstance giving rise to federal jurisdiction
               had existed) that is

               []   a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

               []   an offense for which the maximum sentence is life imprisonment or death.

               []   an offense for which a maximum term of imprisonment of ten years or more is
                    prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

               []   a felony that was committed after the defendant had been convicted of two or
                    more prior federal offenses described in 18 U.S.C. § 3142(f)(1) (A)-(C), or
                    comparable state or local offenses.

       [ ] (2) The offense described in finding 1 was committed while the defendant was on release
               pending trial for a federal, state or local offense.

       [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
               of the defendant from imprisonment) for the offense described in finding 1.

       [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
               combination of conditions will reasonably assure the safety of any other person and the
               community. I further find that the defendant has not rebutted this presumption.
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[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)        There is probable cause to believe that the defendant has committed an offense

                 [X] for which a maximum term of imprisonment of ten years or more is prescribed in
                     21 U.S.C.
                            (X) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                 []   under 18 U.S.C. § 924(c).

       [X] (2)        The defendant has not rebutted the presumption established by finding 1 that no
                      condition or combination of conditions will reasonably assure the appearance of
                      the defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is accused of conspiracy and possession with intent to distribute cocaine
               in violation of 21 U.S.C. §§ 841 and 846.

       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the appearance of the defendant as required.

       [X] (4)I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.

                             Written Statement of Reasons for Detention

        I find that the accusations in the criminal complaint and the information submitted in the
Pretrial Services Agency report and at the detention hearing establish by a preponderance of the
evidence that no condition or combination of conditions will reasonably assure the appearance of the
defendant as required and by clear and convincing evidence that no conditions will assure the safety

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of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 31-year old born in Houston, Texas and raised in Canada. He lives in
                Houston with his cousin, a co-defendant. He owns a .45 caliber handgun that he keeps
                at his residence. He has an aunt, uncle, and cousins residing in Houston. His parents
                are Canadian citizens who live in Montreal, as do two siblings. He is single and has no
                children. He has a U.S. passport and has traveled to Mexico and Peru in the last several
                years.

        2.      Defendant is accused of conspiracy and possession with intent to distribute cocaine in
                violation of 21 U.S.C. §§ 841 and 846. The charges involve a large quantity of drugs,
                and defendant faces a penalty of up to life in prison.

        3.      Defendant is unemployed and has no financial ties to the community. He admits daily
                use of marijuana.

        4.      Defendant's criminal history includes a misdemeanor charge of interfering with the
                duties of a public servant for which he completed the terms of deferred adjudication.

        5.      Defendant has not rebutted the statutory presumptions that he is a flight risk and a
                danger to the community.

        6.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court or the safety of the community. Detention is
                ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on December 14, 2016.




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